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 UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________________

LENTORYA S. PARKER,

                      Plaintiff,                           CA: No. ______________
       vs.
                                                           COMPLAINT AND
                                                           JURY DEMAND
JONATHAN MARSH, DANIEL RIZZO,
EDWARD FIRST, ANDREW BOSTICK,
JOEL HASPER, JOHN DOES 1-5 and
CITY OF ROCHESTER,

                      Defendants.
__________________________________________________


       Plaintiff LENTORYA S. PARKER (hereinafter “Plaintiff”), by and through her

attorneys, Burkwit Law Firm, PLLC, as and for her Complaint against Defendants

JONATHAN MARSH, DANIEL RIZZO, EDWARD FIRST, ANDREW BOSTICK, JOEL

HASPER, JOHN DOES 1-5 (hereinafter “The Defendant Officers”) and CITY OF

ROCHESTER (hereinafter and collectively “Defendants”), alleges as follows:

                                      INTRODUCTION



      1. This is an action for declaratory judgment and monetary damages for

violations of Plaintiff’s constitutional rights brought pursuant to 42 U.S.C. 1983, 1988

and related New York State law claims. Plaintiff alleges that the Defendants, while

acting in their official capacities and under color of State law falsely arrested, illegally

searched and seized and used unlawful and excessive force against Plaintiff’s person in


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violation of the Fourth and Fourteenth Amendments to the United States

Constitution.

                                        JURISDICTION



      2. This action arises in part under 42 U.S.C. Section 1983 and accordingly, this
Court has original subject matter jurisdiction under 28 U.S.C. Section 1331. For all
remaining claims which do not present a federal question under 28 U.S.C. Section
1331, this Court has supplemental jurisdiction under 28 U.S.C. Section 1367.
      3. The causes of action alleged herein arise from the factual allegations
which occurred in this judicial district. All parties are domiciled within the Western
District of New York and therefore, this Court has personal jurisdiction over the
Defendants.
                                            VENUE


      4. Venue is proper in the United States District Court for the Western
District of New York pursuant to 28 U.S.C. Section 1391 because the events or
omissions giving rise to the claim occurred within this District and at all times relevant
herein, all parties resided within this District.


                                           PARTIES


      5. At all times relevant herein, Plaintiff was and still is a resident of the City of
Rochester, County of Monroe and State of New York.
      6. Defendant Jonathan Marsh (hereinafter “Defendant Marsh”) is and at all times
relevant herein was a citizen of New York State residing in Monroe County and was
employed as a police officer with the City of Rochester Police Department.
      7. At all times relevant to this Complaint, Defendant Marsh was acting under

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color of law and is sued in his individual and official capacities as a police officer for the
Defendant City of Rochester.
      8. Defendant Daniel Rizzo (hereinafter “Defendant Rizzo”) is and at all times
relevant herein was a citizen of New York State residing in Monroe County and was
employed as a police officer with the City of Rochester Police Department.
      9. At all times relevant to this Complaint, Defendant Rizzo was acting under
color of law and is sued in his individual and official capacities as a police officer for the
Defendant City of Rochester.
      10. Defendant Edward First (hereinafter “Defendant First”) is and at all times
relevant herein was a citizen of New York State residing in Monroe County and was
employed as a police officer with the City of Rochester Police Department.
      11. At all times relevant to this Complaint, Defendant First was acting under color
of law and is sued in his individual and official capacities as a police officer for the
Defendant City of Rochester.
      12. Defendant Andrew Bostick (hereinafter “Defendant Bostick”) is and at all times
relevant herein was a citizen of New York State residing in Monroe County and was
employed as a police officer with the City of Rochester Police Department.
      13. At all times relevant to this Complaint, Defendant Bostick was acting under
color of law and is sued in his individual and official capacities as a police officer for the
Defendant City of Rochester.
      14. Defendant Joel Hasper (hereinafter “Defendant Hasper”) is and at all times
relevant herein was a citizen of New York State residing in Monroe County and was
employed as a police officer with the City of Rochester Police Department.
      15. At all times relevant to this Complaint, Defendant Hasper was acting under
color of law and is sued in his individual and official capacities as a police officer for the
Defendant City of Rochester.
      16. Defendants JOHN DOES 1-5 (hereinafter “The Doe Defendants”), individuals


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whose names are currently unknown to Plaintiff, are citizens of New York State who
were employed by and served as police officers for Defendant City of Rochester.
        17. The Doe Defendants are unknown police officers who were involved in the
September 15, 2016 arrest and/or use of force on Plaintiff.
        18. At all times relevant to this Complaint, The Doe Defendants were acting under
color of law and are sued in their individual capacities and official capacities as police
officers for the Defendant City of Rochester.
        19. At all times material to the allegations in this Complaint, Defendants were
acting under color of State law as police officers for Defendant City of Rochester.
        20. Defendant City of Rochester is and at all times relevant herein, was and
still is a municipal corporation duly organized and existing under the laws of the State of
New York with its principal place of business in the County of Monroe, State of New
York.
        21. Defendant City of Rochester is a political subdivision of the State of
New York for which at all times relevant to this Complaint, Defendants were employed
by and served as police officers.
        22. On or about October 20, 2016, Defendant City of Rochester was served with
a Verified Notice of Claim detailing its culpability and Plaintiff’s damages.
        23. Defendant City of Rochester has failed and refused to make payment to
Plaintiff in accordance with said Verified Notice of Claim.
        24. At least thirty (30) days have elapsed since the service of the Verified
Notice of Claim upon Defendant City of Rochester and adjustment of payment thereof
has been neglected or refused by Defendant City of Rochester.


                                                   FACTS


        25. On September 15, 2016 between approximately 4:30 p.m. and 5:30 p.m.,



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Plaintiff was in the vicinity of 19 Hollenbeck Street in the City of Rochester, County of

Monroe and State of New York.

      26. On September 15, 2016 between approximately 4:30 p.m. and 5:30 p.m.,

Plaintiff was in the vicinity of 19 Hollenbeck Street, Rochester, New York to pick up her

six (6) year old daughter who was attending daycare at said location.

      27. On September 15, 2016 between approximately 4:30 p.m. and 4:45 p.m.,

Plaintiff went to a store on the corner of Hollenbeck Street and Avenue A to purchase

her daughter a snack.

      28. After Plaintiff purchased her daughter a snack at the store, she proceeded to

walk towards 19 Hollenbeck Street, Rochester, New York to pick up her daughter when

she observed her boyfriend getting arrested by City of Rochester police officers on

Hollenbeck Street.

      29. When Plaintiff was on the sidewalk and saw City of Rochester police officers

arresting her boyfriend on Hollenbeck Street, Plaintiff asked the officers “What are you

doing?”.

      30. When Plaintiff asked the City of Rochester police officers “What are you

doing?”, a City of Rochester police officer directed Plaintiff to get off the sidewalk.

      31. After Plaintiff was directed by a City of Rochester police officer to get off

the sidewalk, Plaintiff remained on the sidewalk stating she had the right to be there.

      32. When Plaintiff stated that she had the right to remain on the sidewalk,

Defendant Marsh told Plaintiff “Leave or you’re going to jail”.

      33. After Defendant Marsh told Plaintiff “Leave or you’re going to jail”, Plaintiff




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replied “I’m not going to jail” and she thereafter turned around and started walking into

the gated entrance at 19 Hollenbeck Street to get her daughter at daycare.

      34. Upon information and belief, Defendant Hasper then directed Defendant

Marsh to place Plaintiff under arrest.

      35. After Plaintiff said “I’m not going to jail” and after she turned around and was

walking into the gated entrance at 19 Hollenbeck Street, Defendant Marsh stated “It’s

too late” and he thereafter grabbed Plaintiff’s right wrist from behind, lifted her arm up

and tackled her down to the ground and landed Plaintiff on her back.

      36. After Defendant Marsh tackled Plaintiff down to the ground, he used both of

his hands and rolled Plaintiff onto her stomach.

      37. After Plaintiff was rolled onto her stomach by Defendant Marsh, Plaintiff was

pepper sprayed and/or maced at least three (3) times by Defendant Marsh and/or one

or more of The Defendant Officers.

      38. Plaintiff, who is asthmatic, could not breathe when she was maced by The

Defendant Officers.

      39. When Plaintiff was tackled to the ground and arrested by The Defendant

Officers, one of The Defendant Officers drove his knee into Plaintiff’s back.

      40. Plaintiff was arrested and placed in handcuffs by The Defendant Officers and

was charged with Obstructing Governmental Administration in the Second Degree in

violation of Penal Law §195.05, Resisting Arrest in violation of Penal Law §205.30,

Disorderly Conduct in violation of Penal Law §240.20, Harassment in the Second

Degree in violation of Penal Law §240.26 and Unlawful Possession of Marijuana in

violation of Penal Law §221.05 based upon her search incident to arrest.



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      41. Upon information and belief, the accusatory informations/complaints which

were filed by Defendant Marsh contained false and fabricated allegations in an effort to

justify the criminal charges against Plaintiff.

      42. Upon information and belief, Defendants First, Bostick and Marsh participated

in placing Plaintiff into handcuffs.

      43. Upon information and belief, Defendant Rizzo conducted the search of Plaintiff

incident to her arrest.

      44. Following her arrest, Plaintiff was placed in the back seat of Defendant

Marsh’s police car.

      45. After Plaintiff was placed in the back seat of Defendant Marsh’s police vehicle

by The Defendant Officers, Defendant Marsh falsely accused Plaintiff of breaking his

glasses which Plaintiff denied.

      46. After Plaintiff was placed in Defendant Marsh’s police vehicle, Defendant

Marsh and/or another Defendant police officer told Plaintiff that she would be maced

again if she did not give her address to said officers.

      47. Plaintiff was never read her Miranda rights prior to her arrest and after being

placed in the police vehicle.

      48. After Plaintiff was placed in the back of a Rochester Police Department

vehicle, a Rochester Police officer gave a small bear to Plaintiff’s six (6) year old

daughter and said out loud “Sorry your mom is an animal”.

      49. Upon information and belief, Plaintiff remained handcuffed in the back of a




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Rochester Police Department vehicle for approximately 45 minutes before she was

transferred over to a police truck and then transported to Monroe County Jail where she

remained incarcerated overnight.

      50. On or about September 16, 2016, Plaintiff was arraigned on the criminal

charges noted in paragraph 40 above in Rochester City Court and Plaintiff was released

on her own recognizance.

      51. On or about August 2, 2016, after several Court appearances and/or hearings,

Rochester City Court Judge Caroline Morrison dismissed all charges in paragraph 40

above against Plaintiff since probable cause did not exist to charge Plaintiff with said

crimes and violations.

      52. Plaintiff took no actions to justify her arrest, search and seizure and use of

force upon her person.

      53. As a result of the aforedescribed incident and the use of unlawful,

unreasonable and excessive force upon Plaintiff by Defendants, Plaintiff suffered
a left elbow contusion/abrasion, a back contusion/abrasion, bilateral arm and shoulder
pain, back pain, burning to her eyes from being maced and/or pepper sprayed, general
body soreness together with other physical and psychological injury.
      54. Upon information and belief, The Defendant Officers were never reprimanded,
suspended or terminated from their employment with Defendant City of Rochester
following the false arrest and use of unlawful force used against Plaintiff and upon
information and belief, said officers remain on full time active duty patrol as City of
Rochester Police officers.
      55. As a direct and proximate result of the alleged actions of the Defendants,
Plaintiff has suffered physical and mental injuries, pain and suffering and other
damages in an amount that will be established at trial.

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      56. Plaintiff is entitled to compensation for the constitutional harms and State
law violations that Defendants inflicted upon her.


                                   CAUSES OF ACTION
                                          COUNT I
VIOLATION OF 42 U.S.C. SECTION 1983 BY DEFENDANTS JONATHAN MARSH,
DANIEL RIZZO, EDWARD FIRST, ANDREW BOSTICK, JOEL HASPER AND JOHN
       DOES 1-5 FOR ILLEGAL SEARCH AND SEIZURE OF PLAINTIFF


      57. The Plaintiff repeats and realleges the allegations in paragraphs 1 through
56 above and incorporates them by reference as if set forth in their entirety herein.
      58. The Defendant Officers herein illegally searched and seized Plaintiff’s person
without probable cause or reasonable suspicion that a crime has been or was being
committed in violation of the Fourth Amendment and Fourteenth Amendments to the
United States Constitution.
      59. By the actions described in paragraphs 1 through 58 above, The Defendant
Officers herein, without a warrant or without probable cause and while acting under
color of law, arrested Plaintiff and deprived her of certain constitutionally protected
rights to be free from unreasonable searches and seizures, the right not to be deprived
of liberty without due process of law and the right to be free from false arrest, all in
violation of 42 U.S.C. Section 1983 and her Fourth and Fourteenth Amendment rights
as guaranteed by the United States Constitution.
      60. The Defendant Officers herein were acting under color of state law when they,
without probable cause or reasonable suspicion that a crime has been or was being
committed, exercised their authority as police officers by falsely arresting, searching and
seizing Plaintiff who was at all times acting in a lawful manner.
      61. As a direct and proximate cause of the illegal search and seizure of
Plaintiff by the The Defendant Officers herein, Plaintiff suffered and continues to suffer

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physical and mental injuries and other damages in an amount that will be established at
trial.
          62. As a direct and proximate result of the Defendants’ violations of Plaintiff’s
constitutional rights, Plaintiff has suffered general and special damages to be proved at
trial and is entitled to relief under 42 U.S.C. Section 1983.
          63. As a direct and proximate result of the Defendants’ conduct, Plaintiff has
been compelled to retain the services of counsel to protect and enforce her rights and
therefore, Plaintiff has incurred and continues to incur attorney’s fees, expert fees and
costs for which Plaintiff is entitled to reimbursement in an amount to be established at
the time of trial pursuant to 42 U.S.C. Section 1988.
          64. The Defendants’ conduct was willful, malicious, oppressive and/or
reckless and was of such a nature that Plaintiff claims punitive damages against each of
them in an amount commensurate with the wrongful acts alleged herein.


                                             COUNT II
 VIOLATION OF 42 U.S.C. SECTION 1983 BY DEFENDANTS JONATHAN MARSH,
 DANIEL RIZZO, EDWARD FIRST, ANDREW BOSTICK, JOEL HASPER AND JOHN
       DOES 1-5 FOR USE OF EXCESSIVE FORCE AGAINST PLAINTIFF


          65. The Plaintiff repeats and realleges the allegations in paragraphs 1
through 64 above and incorporates them by reference as if set forth in their entirety
herein.
          66. Based upon the aforedescribed conduct, The Defendant Officers herein
illegally used excessive force under the circumstances against Plaintiff in violation of her
Fourth Amendment right to be secure in her person from unreasonable seizures.
          67. The Defendant Officers’ conduct under the circumstances was an excessive
use of force on Plaintiff which a reasonable officer in their position would not have used
under the circumstances.

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      68. As a direct and proximate cause of the excessive use of force by The
Defendant Officers herein, Plaintiff suffered and continues to suffer serious physical and
mental injuries and other damages in an amount that will be established at trial.
      69. As a direct and proximate result of Defendants’ violations of Plaintiff’s
constitutional rights, Plaintiff has suffered general and special damages to be proved at
trial and is entitled to relief under 42 U.S.C. Section 1983.
      70. As a direct and proximate result of the Defendants’ conduct, Plaintiff has
been compelled to retain the services of counsel to protect and enforce her rights and
therefore, Plaintiff has incurred and continues to incur attorney’s fees, expert fees and
costs for which Plaintiff is entitled to reimbursement in an amount to be established at
the time of trial pursuant to 42 U.S.C. Section 1988.
      71. The Defendants’ conduct was willful, malicious, oppressive and/or
reckless and was of such a nature that Plaintiff claims punitive damages against each of
them in an amount commensurate with the wrongful acts alleged herein.


                                         COUNT III
                       BATTERY BY DEFENDANTS JONATHAN MARSH,
                     DANIEL RIZZO, EDWARD FIRST, ANDREW BOSTICK,
                   JOEL HASPER, JOHN DOES 1-5 AND CITY OF ROCHESTER

      72. The Plaintiff repeats and realleges the allegations set forth in paragraphs 1
through 71 above and incorporates them by reference as if set forth in their entirety
herein.
      73. The aforesdescribed actions of Defendants herein constitute an intentional
battery upon Plaintiff’s person.
      74. Defendants herein committed a battery upon Plaintiff’s person by directing and

using force against Plaintiff’s person without her consent.

      75. Defendant Marsh committed a battery against Plaintiff’s person by grabbing


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Plaintiff’s wrist from behind, by lifting up on her arm, by tackling Plaintiff down to the

ground, by using both hands and rolling Plaintiff onto her stomach, by pepperspraying

and/or macing Plaintiff, by restraining Plaintiff and placing handcuffs on her and

physically taking her into police custody.

      76. Defendant Rizzo committed a battery against Plaintiff’s person by restraining

Plaintiff, by searching her person incident to her arrest and by physically taking Plaintiff

into police custody.

      77. Defendants First and Bostick committed a battery against Plaintiff’s person by

restraining Plaintiff, by placing handcuffs on her person by pepper spraying and/or

macing Plaintiff and/or by physically taking Plaintiff into police custody.

      78. The Defendant Officers commit a battery against Plaintiff’s person by using

physical force against her person, by restraining her person, by pepper spraying and/or

macing Plaintiff, by driving a knee into the Plaintiff’s back and taking her into custody.

      79. The battery committed by Defendants upon Plaintiff was without provocation
by Plaintiff and without her consent.
      80. As a direct and proximate result of the battery committed upon her person
by Defendants, Plaintiff suffered severe and permanent physical and mental injuries and
damages in an amount to be determined at trial.
      81. Defendant City of Rochester is liable under the doctrine of Respondeat
Superior for the acts and omissions of its employees and/or agents, The Defendant
Officers herein, who were purporting to act or were acting in the course and scope of
their employment as police officers with Defendant City of Rochester when the alleged
battery was committed upon Plaintiff’s person.
      82. The Defendants’ actions were malicious, oppressive, reckless, wanton



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and in willful disregard of Plaintiff’s rights that Plaintiff claims punitive damages against


Defendants herein in an amount to be determined at trial commensurate with the

wrongful acts alleged herein.


                                             COUNT IV


                        ASSAULT BY DEFENDANTS JONATHAN MARSH,
                      DANIEL RIZZO, EDWARD FIRST, ANDREW BOSTICK,
                    JOEL HASPER, JOHN DOES 1-5 AND CITY OF ROCHESTER

      83. The Plaintiff repeats and realleges the allegations set forth in paragraphs

1 through 82 above and incorporates them by reference as if set forth in their entirety

herein.

      84. The aforedescribed actions of Defendants herein constitute an intentional

assault upon Plaintiff’s person.

      85. Defendants intentionally placed Plaintiff in fear of imminent, harmful or offensive

contact when Defendants directed Plaintiff be placed under arrest, when The Defendant
Officers grabbed Plaintiff from behind, lifted up her arm, tackled her to the ground, rolled
Plaintiff onto her stomach, pepper sprayed and/or maced Plaintiff, used force in
restraining and placing handcuffs on Plaintiff, by searching Plaintiff’s person and
physically taking her into police custody.

      86. Defendants intentionally placed Plaintiff in fear of imminent, harmful or offensive

contact when Defendant Marsh and/or another Defendant officer told Plaintiff that she
would be maced again if she did not give her address.

      87. The Defendants herein made intentional attempts, displayed by violence

or threatening gesture, to do injury to or commit a battery upon Plaintiff’s person.



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      88. The assault committed upon Plaintiff by Defendants herein was without

provocation by Plaintiff.

      89. Defendant City of Rochester is liable under the doctrine of Respondeat

Superior for the acts and omissions of its employees and/or agents including the

Defendants herein who were purporting to act or were acting in the course and scope of

their employment as police officers with Defendant City of Rochester when the alleged

assault was committed upon Plaintiff’s person.

      90. As a direct and proximate result of the assault committed upon her person,

Plaintiff suffered severe and permanent injuries and damages in an amount to be

determined at trial.

      91. The Defendants’ actions were malicious, reckless, wanton and in wilful

disregard of Plaintiff’s rights that Plaintiff claims punitive damages against Defendants in

an amount to be determined at trial commensurate with the wrongful acts alleged herein.




              WHEREFORE, Plaintiff Lentorya S. Parker prays for judgment against
Defendants, jointly and severally, as follows:
       1. Compensatory damages in the form of general and special damages against
          all Defendants, jointly and severally, in an amount that has yet to be
          ascertained and according to the proof to be determined at trial;

       2. Punitive damages against all individual Defendants in an amount to be
          determined at trial;

       3. Declaratory judgment declaring that Plaintiff Lentorya S. Parker’s
          constitutional rights to be free from unlawful arrest, search, seizure and
          excessive force under the Fourth and Fourteenth Amendments were violated
          by the Defendant officers;


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      4. Reasonable costs of this suit incurred herein;

      5. An award of reasonable attorney’s fees pursuant to 42 U.S.C. Section 1988;
         and

      6. Such other and further relief as this Court may deem just and proper.



                            DEMAND FOR JURY TRIAL


      A jury trial is hereby demanded.


Dated: September 5, 2017
                                         Respectfully submitted,

                                         BURKWIT LAW FIRM, PLLC



                                         _s/Charles F. Burkwit, Esq.______
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